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                   PEGATRON CORPORATION
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               8
                                         UNITED STATES DISTRICT COURT
               9
                                       SOUTHERN DISTRICT OF CALIFORNIA
           10

           11      QUALCOMM INCORPORATED,
                                                                    Case No. 3:17-CV-01010-GPC-MDD
           12                        Plaintiff,
                                                                    DEFENDANT PEGATRON
           13            v.                                         CORPORATION’S CORPORATE
                                                                    DISCLOSURE STATEMENT
           14      COMPAL ELECTRONICS, INC.,                        PURSUANT TO FED. R. CIV. P. 7.1
                   FIH MOBILE LTD.,
           15      HON HAI PRECISION INDUSTRY CO.,
                   LTD.,
           16      PEGATRON CORPORATION, and
                   WISTRON CORPORATION,
           17
                                     Defendants.
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Gibson, Dunn &
                                                  DEFENDANT PEGATRON CORPORATION’S RULE 7.1 CORPORATE DISCLOSURE
Crutcher LLP
                                                                                    CASE NO. 3:17-CV-01010-GPC-MDD
               1         Pursuant to Rule 7.1(a) of the Federal Rules of Civil Procedure, Defendant
               2   Pegatron Corporation (“Pegatron”), by and through its undersigned counsel, states that
               3   it has no parent corporation. AsusTek Computer Inc., a publicly held corporation
               4   organized and existing under the laws of Taiwan, owns more than 10 percent of
               5   Pegatron’s stock.
               6

               7   Dated: June 8, 2017                     Respectfully submitted,
               8
                                                           GIBSON, DUNN & CRUTCHER LLP
               9
                                                          By:           /s/ Nicola T. Hanna
           10                                                           Nicola T. Hanna
           11
                                                          Attorney for Defendant (by special appearance)
           12                                             PEGATRON CORPORATION
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Gibson, Dunn &
                                               DEFENDANT PEGATRON CORPORATION’S RULE 7.1 CORPORATE DISCLOSURE
Crutcher LLP
                                                                                 CASE NO. 3:17-CV-01010-GPC-MDD
